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Wendy E. Lyon, OSB #162408
FOX ROTHSCHILD LLP
1001 Fourth Avenue, Suite 4500
Seattle, WA 98154
Telephone:    206.624.3600
Facsimile:    206.389.1708
Email: wlyon@foxrothschild.com
Lincoln Bandlow – Admitted pro hac vice
LAW OFFICES OF LINCOLN BANDLOW, PC
1801 Century Park East, Suite 2400
Los Angeles, CA 90067
Telephone:    310.556.9680
Facsimile:    310.861.5550
Email: Lincoln@BandlowLaw.com
Attorneys for Plaintiff

                             UNITED STATES DISTRICT COURT
                                    DISTRICT OF OREGON
                                     PORTLAND DIVISION

DALLAS BUYERS CLUB, LLC,                                               Case No. 3:15-cv-00907-AC
                                      Plaintiff,
                                                    MOTION TO WITHDRAW AS COUNSEL
                vs.                                 OF RECORD FOR PLAINTIFF
JOHN HUSZAR,
                                   Defendant.


                                         LR 7.1 CONFER
        Plaintiff’s counsel certifies she has conferred with counsel for the Defendant and this
motion is unopposed by Defendant.
                                             MOTION
        Pursuant to LR 83.11(a), Wendy E. Lyon of FOX ROTHSCHILD LLP moves to
withdraw as counsel of record for Plaintiff, DALLAS BUYERS CLUB, LLC in the above-
captioned matter.




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        Plaintiff is also represented by Lincoln D. Bandlow who was admitted pro hac vice.


        DATED this 19th day of July, 2019.

                                             FOX ROTHSCHILD LLP

                                             /s/ Wendy E. Lyon
                                             Wendy E. Lyon, OSB #162408
                                             Telephone: 206.624.3600
                                             Facsimile:    206.389.1708
                                             Attorneys for Plaintiff




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                                   CERTIFICATE OF SERVICE

        I hereby certify that on the date given below, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send electronic notification of such
filing to all parties of record.

        DATED this 19th day of July, 2019, at Seattle, Washington.



                                                      Courtney R. Tracy




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